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                      23-874
       In the United States Court of Appeals
                    FOR THE SECOND CIRCUIT
                                Jason Goodman,
                                                              Plaintiff Appellant
                                       v.

                             Christopher E. Bouzy
                                                              Defendant-Appellee
             On Appeal from the United States District Court for the
                        Southern District of New York
              Case No. 20-cv-10878 (AT-JLC) James Lloyd Cott

          SPECIAL RESPONSE LETTER TO THE COURT PER
             REQUEST OF THE CLERK OF THE COURT



Signed this 22nd day of June 2023 (6/22/23)


                                              D. G. SWEIGERT PRO SE, C/O
                                              PMB 13339, 514 Americas Way,
                                                         Box Elder, SD 57719
                                               Spoliation-notice@mailbox.org




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                                 BACKGROUND


As stated in Case 23-874, Document 4, 06/13/2023, 3528414, Page1 of 1:


IT IS HEREBY ORDERED that Appellant David George Sweigert file a

response, by letter, to this order either (1) setting out the claimed basis for this

Court’s jurisdiction; or (2) withdrawing the appeal. The response is due June 27,

2023. If no response is filed, the appeal will be referred to a panel for a

determination regarding this Court’s jurisdiction, copy to pro se appellant and

Appellee, FILED.[3528414] [23-874] [Entered: 06/13/2023 11:21 AM




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                        JURISDICTIONAL STATEMENT

Mr. Sweigert appeals the district court’s Magistrate Order, ECF 202, which had the

practical effects of quashing Mr. Sweigert’s ECF 201 letter to the court clarifying

issues related to personal jurisdiction.

Under the totality of circumstances test, as was the case with ECF 158 and 161,

Magistrate Cott treats preliminary letters requesting leave of the court to file a

motion as fully briefed “motions”, see Para. 8, of his Report and Recommendations

(ECF 203). By his Order, Magistrate Cott denied Mr. Sweigert due process and a

meaningful opportunity to be heard regarding ECF 204.

The opened ended prefiling injunction order (ECF 202) has denied Mr. Sweigert

(1) a meaningful opportunity to be heard on the issue of personal jurisdiction, and

(2) is a legal nullity for violation of Mr. Sweigert’s due process rights. Thus, the

Second Circuit has the responsibility of performing a de novo review of the Order

(ECF 202).




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Jurisdiction is conferred upon this Court by:

    AMENDMENT V, U.S. CONSTITUTION

    28 U.S.C. § 1292

    Federal Rules of Civil Procedure Rule 60(b)(4)

    U.S. v. All Assets of Statewide Auto Parts, 971 F.2d 896 (2d Cir. 1992)

    SEC v. Romeril, 15 F.4th 166 (2d Cir. 2021)




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                        FRAP RULE 32 COMPLIANCE


This motion complies with the type-volume limitation of Fed. R. App. P.

32(a)(7)(B) as it contains 460 words.

This reply complies with the typeface requirements of Fed. R. App. P. 32(a)(5) and

the type style requirements of Fed. R. App. P. 32(a)(6) because this brief has been

prepared in a proportionally spaced typeface using Microsoft Office 365 in 14-

point Times New Roman font.




Signed 22nd day of June, 2023 (6/22/2023) under the penalties of perjury.


                                                    PROPOSED INTERVENOR
                                                          D. G. SWEIGERT, C/O
                                                                     PMB 13339
                                                               514 Americas Way
                                                             Box Elder, SD 57719
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  UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT
 CAPTION:
 Goodman
                                                               CERTIFICATE OF SERVICE*

                                                               Docket Number:       23-874
                          v.


 Bouzy
         I, D. Geo. Sweigert                                , hereby certify under penalty of perjury that
                      (print name)
                                                                        Response to the Clerk of the Court
 on June 22, 2023                               , I served a copy of
                (date)
 xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx

                                               (list all documents)
 by (select all applicable)**
___ Personal Delivery                   ___ United States Mail                  ___ Federal Express or other
                                                                                    Overnight Courier
___ Commercial Carrier                  x
                                        ___ E-Mail (on consent)
on the following parties:
 Jason Goodman                    252 7th Ave.                           NYC              NY            10001
 Name                             Address                               City              State         Zip Code
 Brian Edward Middlebrook         1 Battery Plaza NYC                                     NY            10004
 Name                             Address                               City              State         Zip Code
 Elizabeth Lockwood 300 New Jersey Ave. NW                               WASH DC                        20001
 Name                             Address                               City              State         Zip Code
 Maxwell Mishkin                  1909 K St., NW WASH DC                                                20006
 Name                             Address                               City              State         Zip Code

*A party must serve a copy of each paper on the other parties, or their counsel, to the appeal or
proceeding. The Court will reject papers for filing if a certificate of service is not simultaneously
filed.

**If different methods of service have been used on different parties, please complete a separate
certificate of service for each party.


 June 22, 2023                                                  D. Geo. Sweigert
            Today’s Date                                                            Signature
 Certificate of Service Form (Last Revised 12/2015)
            Case 23-874, Document 12, 06/26/2023, 3535303, Page7 of 7




                          CERTIFICATE OF SERVICE


Hereby certified that a PDF copy of this letter has been sent via electronic mail to:


Jason Goodman, sole stockholder of MULTIMEDIA SYSTEM DESIGN, INC.
truth@crowdsourcethetruth.org
Seth D. Berlin, esq. for Bot Sentinel, Inc.
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Brian Edward Middlebrook, esq. for Adam Sharp
John Tyler Mills, esq. for Adam Sharp
bmiddlebrook@grsm.com and jtmills@grsm.com

Signed 22nd day of June, 2023 (6/22/2023) under the penalties of perjury.


                                                                    APPELLANT
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